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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 YESENIA BROTHERS,                                  §
 INDIVIDUALLY AND AS NEXT FRIEND                    §
 OF KOURTNEE EVANS, A MINOR,                        §
                                                    §
         Plaintiff,                                 §
                                                    §
 v.                                                 §                          5:18-cv-1071
                                                            CIVIL ACTION NO. _____________
                                                    §
 FEDERATED MUTUAL INSURANCE                         §
 COMPANY,                                           §
                                                    §
                                                    §
         Defendant.                                 §

             DEFENDANT FEDERATED MUTUAL INSURANCE COMPANY’S
                           NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Federated Mutual Insurance

Company (“Federated”) files this Notice of Removal and respectfully shows:

                                          BACKGROUND

        1.        On August 30, 2018, Yesenia Brothers, Individually and as Next Friend of

Kourtnee Evans, (“Plaintiff”) filed a lawsuit against Federated, Cause No. 2018-CI-16588; Yesenia

Brothers, Individually and as Next Friend of Kourtnee Evans, a minor v. Federated Mutual

Insurance Company, pending in the 73rd Judicial District Court of Bexar County, Texas. On

September 11, 2018, Federated received a copy of the petition, which was served with process via

certified mail.

        2.        Federated timely filed this notice of removal within the 30-day period required by

28 U.S.C. § 1446(b).

                                      BASIS FOR REMOVAL

        3.        Removal is proper based on diversity of citizenship. 28 U.S.C. § 1332(a).

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       4.      Plaintiff is a citizen of Texas.

       5.      Federated is a Minnesota corporation with its principal place of business in

Owatonna, Minnesota.

       6.      Plaintiff’s Original Petition alleges damages between $200,000.00 and

$1,000,000.00. (Pl.’s Pet. at 1). Although Federated disputes liability and damages, it is evident

from Plaintiff’s Original Petition that Plaintiff asserts claims for monetary relief that, if granted,

would exceed $75,000.00. Therefore, based on Plaintiff’s claims for damages, the amount in

controversy requirement is satisfied. All requirements are met for removal under 28 U.S.C. §§

1332 and 1441(b).

       7.      Pursuant to 28 U.S.C. § 1446(d), a copy of this notice of removal will be filed with

the Clerk of the 73rd Judicial District Court of Bexar County, Texas and all parties.

       8.      All pleadings, process, orders, and other filings in the state court action are attached

to this notice as required by 28 U.S.C. § 1446(a). Those filings consist of the following:

       Exhibit A:       Plaintiff’s Original Petition, Civil Case Information Sheet, and Citation; and

       Exhibit B:       The docket sheet (no orders have been signed in the state court action).

                                              PRAYER

       Defendant, Federated Mutual Insurance Company, respectfully prays the state court action

be removed from the 73rd Judicial District Court of Bexar County, Texas to the United States

District Court for the Western District of Texas, San Antonio Division, pursuant to 28 U.S.C. §§

1332, 1441, and 1446.




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                                                      Respectfully submitted,

                                                      COZEN O’CONNOR, P.C.


                                                      |/s/ Kendall Kelly Hayden
                                                      Kendall Kelly Hayden
                                                      State Bar No. 24046197
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                                                      OF COUNSEL:

                                                      COZEN O’CONNOR
                                                      1221 McKinney, Suite 2900
                                                      Houston, Texas 77010
                                                      Telephone: (832) 214-3900
                                                      Telecopy: (832) 214-3905

                                                      ATTORNEYS FOR DEFENDANT
                                                      FEDERATED MUTUAL INSURANCE
                                                      COMPANY


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of October, 2018, a true and correct copy of the forgoing
instrument was served upon the following counsel of record via certified mail/return receipt
requested and electronic mail:

                                        James V. Mazuca
                                     Law Office of Jeff Davis
                                    10500 Heritage, Suite 102
                                    San Antonio, Texas 78216
                                    Telephone: (210) 444-4444
                                    Facsimile: (210) 870-1451
                                   Email: james@davislaw.com

                   Attorneys for Plaintiff Yesenia Brothers, Individually and
                               a/n/f of Kourtnee Evans, A Minor


                                                      |/s/ Kendall Kelly Hayden
                                                      Kendall Kelly Hayden
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